Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 1 of 7 Pageid#:
                                  15803




                  EXHIBIT 13
Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 2 of 7 Pageid#:
                                  15804
                                                                           Page 1
     1

    2                IN THE UNITED STATES DISTRICT COURT

    3              FOR THE WESTERN DISTRICT OF VIRGINIA

    4      -----------------------------)

    5      ELIZABETH SINES, et al,                        Civil Action No.

    6                     Plaintiffs,                 3:17-cv-00072-NKM

    7      JASON KESSLER, et al,

    8                   Defendants,

     9                                            )
           -----------------------------)
   10

   11

   12               STATEMENT RE NONAPPEARANCE for the

   13                        30(b) (6) DEPOSITION OF

   14                            NATIONALIST FRONT

   15                            November 2, 2020

   16

   17

   18

   19

   20

   21

   22

   23

   24      Reported by: BONNIE PRUSZYNSKI, RMR, RPR, CLR
           JOB NO. 185861
   25


                   TSG Reporting - Worldwide   877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 3 of 7 Pageid#:
                                       15805
                                                                                Page 2
 1

 2

 3

 4

 5

 6

 7

 8

 9                                                  November 2, 2020
10                                                  9:40 A.M.
11

12
13
14
15

16              STATEMENT RE NONAPPEARANCE for the
17      30(b) (6) DEPOSITION OF NATIONALIST FRONT,
18      held remotely, before Bonnie Pruszynski,
19      a Registered Professional Reporter,
20      Registered Merit Reporter, Certified

21      Livenote Reporter, and Notary Public of
22      the State of New York.
23
24
25


                        TSG Reporting - Worldwide     877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 4 of 7 Pageid#:
                                       15806
                                                                                Page 3
 1

 2      APPEARANCES:
 3

 4      KAPLAN HECK     &   FINK
 5      Attorneys for Plaintiffs
 6             350 5th Avenue, #7110
 7             New York, NY 10018
 8      BY:    YOTAM BARKAI, ESQ .
 9

10
11

12

13
14

15
16

17
18
19

20

21

22
23

24

25


                        TSG Reporting - Worldwide   877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 5 of 7 Pageid#:
                                       15807
                                                                                Page 4
 1

 2              MR. BARKAI:       My name is Yotam
 3      Barkai, an attorney with the law firm of
 4      Kaplan Hecker and Fink.           I represent the
 5      plaintiffs in Sines versus Kessler .
 6              Today is Monday, November 2nd,
 7      2020, which was scheduled to be the
 8      deposition of Nationalist Front pursuant
 9      to Rule 30(b) (6) of the federal rules .
10      The deposition was scheduled to begin at
11      9:30.    On October 16, 2020, plaintiffs
12      serviced a Notice of this deposition on
13      National Front via counsel Edward
14      ReBrook.
15              Mr. ReBrook has informed us that no
16      one will appear to testify for the
17      Nationalist Front today and, indeed, no
18      one has appeared to testify for the
19      Nationalist Front at this deposition .
20              All of Plaintiffs' rights are

21      reserved, including but not limited to
22      seeking sanctions against defendant
23      Nationalist Front, reimbursement for the
24      costs incurred and all other rights .
25              We can go off the record .


                        TSG Reporting - Worldwide   877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 6 of 7 Pageid#:
                                       15808
                                                                                Page 5
 1

 2      Thank you .
 3                     oOo

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                        TSG Reporting - Worldwide   877-702-9580
     Case 3:17-cv-00072-NKM-JCH Document 918-13 Filed 01/13/21 Page 7 of 7 Pageid#:
                                       15809
                                                                                Page 6
 1

 2                         C E R T I F I C A T E
 3      STATE OF NEW YORK
 4                                       ss.
 5      COUNTY OF NEW YORK
 6

 7

 8                         I, BONNIE PRUSZYNSKI, a Notary
 9                  Public with and for the State of New York,
10                  do hereby certify:
11                        That I reported stenographically the
12                 proceedings in the above-referenced matter
13                 that the transcript herein is a full and
14                 complete record.
15                         I further certify that I am not
16                 related to any of the parties to this action
17                 by blood or marriage, and that I am in no
18                 way interested in the outcome of this
19                 matter.
20                        IN WITNESS WHEREOF, I have hereunto

21                 set my hand this 6th of November, 2020.
22
23

24                                        Bonnie Pruszynski
25


                        TSG Reporting - Worldwide   877-702-9580
